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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 4:08CR3028
                                             )
              V.                             )
                                             )
JUAN R. ANAYA,                               )                   ORDER
                                             )
                     Defendant.              )

       IT IS ORDERED that:


       (1)    The defendant’s unopposed motion for leave to file out of time (filing 90) is
granted.


       (2)    The defendant’s unopposed motion to continue sentencing (filing 91) is
granted.


       (3)    The defendant’s sentencing is continued to Wednesday, May 13, 2009, at 1:00
p.m. before the undersigned United States district judge.

       DATED this 2 nd day of April, 2009.

                                          BY THE COURT:

                                          S/Richard G. Kopf
                                          United States District Judge
